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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              ) CR. No. S-08-0239 LKK
                                            )
12             Plaintiff,                   )
                                            )
13        v.                                ) ORDER CONTINUING CASE TO
                                            ) TRIAL DATE
14   RICKY WARE and,                        )
     CHRISTIAN ROBERSON,                    )
15                                          )
                Defendants.                 )
16                                          )
                                            )
17
18                                    ORDER

19        The parties appeared before the Court on Monday, December 8,

20   2008, in case number S-08-0239 LKK.       At that time, based upon the

21   representations and agreement of all counsel, the Court ordered

22   the Trial Confirmation Hearing set for March 24, 2009, at 9:15

23   a.m., and jury trial on Tuesday, April 7, 2009, at 10:30 a.m. and

24   that the time beginning December 8, 2008, and extending through

25   April 7, 2009, was excluded from the calculation of time under

26   the Speedy Trial Act.    18 U.S.C. § 3161.

27        The exclusion of time is appropriate due to the defense

28   counsels’ need to prepare for trial       18 U.S.C. §

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 1   3161(h)(8)(B)(iv); Local Code T4.        A continuance is necessary in
 2   this case in order to ensure defense counsel has a reasonable
 3   amount of time to review the evidence given the limitations
 4   imposed by Congress.      It’s also necessary to ensure defense
 5   counsel’s effective preparation, taking into account the exercise
 6   of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.
 7          ACCORDINGLY, it is hereby ordered the Trial Confirmation
 8   Hearing set for March 24, 2009, at 9:15 a.m., and jury trial on
 9   Tuesday, April 7, 2009, at 10:30 a.m., and that the time
10   beginning December 8, 2008, and extending through April 7, 2009,
11   be excluded from the calculation of time under the Speedy Trial
12   Act.   The Court finds that the interests of justice served by
13   granting this continuance outweigh the best interests of the
14   public and the defendant in a speedy trial.          18 U.S.C. §
15   3161(h)(8)(A).
16          IT IS SO ORDERED.
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     Dated: December 15, 2008
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